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                    Case No. 21-6245


       UNITED STATES COURT OF APPEALS
            FOR THE SIXTH CIRCUIT

                  CURT TOMLINSON
                   Plaintiff-Appellant

                           vs.

         KRAUSS-MAFFEI, CORPORATION
               Defendant-Appellee



         ON APPEAL FROM THE UNITED STATES
              DISTRICT COURT FOR THE
             SOUTHERN DISTRICT OF OHIO


BRIEF OF PLAINTIFF-APPELLANT CURT TOMLINSON



                                    David Torchia (0015962)
                                    Tobias, Torchia & Simon
                                    302 Mercantile Center
                                    120 E. Fourth Street
                                    Cincinnati, Ohio 45202
                                    (513) 241-8137
                                    davet@tktlaw.com
                                    Attorney for
                                    Plaintiff-Appellant
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               UNITED STATES COURT OF APPEALS
                      FOR THE SIXTH CIRCUIT


CURT TOMLINSON                         )
                                       )
v.                                     )      No. 21-6245
                                       )
KRAUSS-MAFFEI CORP.,                   )


             DISCLOSURE OF CORPORATE AFFILIATIONS
                    AND FINANCIAL INTEREST

Pursuant to 6th Cir. R. 25, Curt Tomlinson makes the following disclosure:

1.    Is said party a subsidiary or affiliate of a publicly-owned corporation?
      No

      If the answer is YES, list below the identity of the parent corporation
      or affiliate and the relationship between it and the named party:

2.    If there a publicly-owned corporation, not a party to the appeal, that
      has a financial interest in the outcome? No

      If the answer is YES, list the identity of such corporation and the
      nature of the financial interest:


s/ David Torchia                              April 11, 2022
(Signature of Counsel)                        (Date)




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                 STATEMENT OF SUBJECT MATTER
                  AND APPELLATE JURISDICTION

      In the district court, Plaintiff asserted discrimination in violation of

the Americans with Disabilities Act (ADA) 42 U.S.C. § 12101 and KRS §

344. 010 et seq. The trial court had jurisdiction over the claims pursuant to

28 U.S.C. § 1331 and 28 U.S.C. § 1367.

      This court has jurisdiction over the appeal pursuant to 28 U.S.C.

§ 1291.




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    Rule 9(d) STATEMENT IN SUPPORT OF ORAL ARGUMENT

      Appellant requests oral argument in support of this appeal. Argument

will assist the Court by allowing the parties to answer questions the Court

may pose regarding the facts giving rise to Appellant’s claims and the law

that applies to their resolution.




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              STATEMENT OF THE ISSUES

1.    Did the district court err in granting Defendant’s motion
      for summary judgment on Plaintiff’s claim that
      Defendant failed to accommodate his disability?

2.    Did the district court err in concluding as a matter of law
      that Plaintiff could not establish a constructive discharge?

3.    Did the district court err in granting Defendant’s motion
      for summary judgment on Plaintiff’s retaliation claim?


Appellant asserts that the answer to the above is “yes.”
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                   I.     STATEMENT OF THE CASE

A.    Nature of the Case and Introduction

      This is a case of disability discrimination. Plaintiff suffers from Post-

Traumatic Stress Disorder (PTSD). He had an unpleasant and hostile

interaction with John Wiley, his supervisor. Plaintiff needed to take time off.

While on leave, he asked about a change in supervision. Plaintiff’s request

was reasonable under the circumstances. Plaintiff had very little interaction

with Wiley.    Most of Plaintiff’s work was directed by Aeric Bouza, a

Service Coordinator. Rather than engage in the ADA’s mandatory

interactive process, Defendant flatly refused Plaintiff’s request because it did

not fit Defendant’s “structure.” No other reason was provided. There was no

discussion about other ways that the supervision of Plaintiff could be

modified to address his disability and his desire to avoid another negative

interaction with Wiley that could again trigger a serious mental health event.

      Reasonable alternatives existed and there was no undue hardship. In

fact, shortly before Plaintiff’s constructive discharge, Defendant’s managers

considered having Bouza do evaluations instead of Wiley. And during the

next evaluation period, that is what happened.

      As argued below, the district court erred when it determined that

Plaintiff’s request for accommodation was unreasonable and that he was not


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constructively discharged.


B.    Course of Proceedings and Disposition of The Case
      In The District Court

      Plaintiff filed this action on May 31, 2019. (RE 1, Complaint, Page ID

# 1). He asserted claims for disability discrimination in violation of the

ADA and Kentucky Revised Code § 344. 010. Plaintiff also alleged that

Defendant retaliated against him in violation of the ADA and KRS. (Id.).

      Following discovery, Defendant filed a motion for summary

judgment. (RE 46 Motion, Page ID #460). Plaintiff responded. (RE 50,

Response in Opposition, Page ID # 534). Defendant filed a reply

memorandum. (RE 56, Page ID # 718).

      On December 8, 2021, the district court granted Defendant’s motion

and entered judgment for Defendant. (RE 62, Memorandum Opinion and

Order, Page ID # 744 and RE 63, Clerk’s Judgment, Page ID # 770).

Plaintiff filed a notice of appeal on December 29, 2022. (RE 65, Notice of

Appeal, Page ID # 772).


C.    Statement of the Facts

      Plaintiff began his employment with Defendant in early June of 2016.

He worked as a Field Service Engineer (FSE). As an FSE, Plaintiff’s basic

duties were to go to customer sites and install, service, and perform
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maintenance on machines operated by Defendant’s customers. (Id. at 83,

Page ID # 315). Each time Plaintiff went to a customer site perform a repair,

maintenance, or any other work, both Plaintiff and the customer would sign

a Service Report detailing the work that was done. (Id. at 85, Page ID #

315). The customer’s signature indicated that the work was satisfactorily

completed. (Id. and 85 at Page ID # 316; RE 50-1, Tomlinson Declaration,

Ex. 1, Page ID # 567-73).

        Although John Wiley, the Service Manager, was Plaintiff’s nominal

supervisor, Aeric Bouza, the Service Coordinator for Injection Molding,

effectively filled that role. (Doc. 45, Tomlinson depo at 77, 87-88, Page ID

# 313, 316). Bouza would make work assignments for Plaintiff and was

available for technical assistance. (Id.). Wiley testified that Bouza would

direct the service technicians from site to site and also troubleshoot over the

phone with the customer and service technicians. (RE 45 at Page ID # 193).

Wiley agreed that Bouza had more day-to-day contact with the field service

engineers than Wiley. (Id.). Bouza also provided input regarding Plaintiff’s

performance when Wiley did Plaintiff’s evaluations. (Id. at Page ID # 208,

216).




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      2.     Plaintiff’s Disability

      Plaintiff suffers from PTSD. The initial traumatic event was a sexual

assault that occurred in 1984 while Plaintiff was in the Marines. (RE 45,

Tomlinson depo. at 11, 22, Page ID # 300 and RE 50-1, Tomlinson Dec.,

Page ID # 563). As Plaintiff got older, the assault and unpleasant memories

began to bother him more. (RE 45 Tomlinson depo. at 11, Page ID # 297).

      In February of 2017, Plaintiff told Randy Hemmerle, Defendant’s

Director of Human Resources, that he suffered from PTSD. (RE 45,

Tomlinson depo. at 98-99, Page ID # 319 and Ex. 7 at Page ID # 412).

Plaintiff had previously been harassed by Mark Bigos, a coworker. (Id. at

100-101, Page ID # 319). The anxiety built up over time. (Id. and 106-107,

Page ID # 321). Plaintiff told Hemmerle that he could not work in an

environment where he felt bullied or harassed. (Ex. 7, Page ID # 412).



      3.     Plaintiff’s 2016 Evaluation

      Defendant’s annual evaluations cover the employee’s work for the

calendar year. (RE 44, Wiley depo. at 22, Page ID # 201). The evaluation

process typically began in the fall of the year. (Id. at 29, Page ID # 208). The

goal was to complete the evaluation and have it reviewed by Human

Resources by February of the following year. (Id. at 30, Page ID # 209).

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       In March of 2017, Plaintiff received his performance evaluation for

period June – December 2016. (Id. at 30-31, Page ID # 209-210). Wiley

rated Plaintiff as “meeting expectations.” (RE 45, Tomlinson depo. at 119

and. RE 45-9, depo. Ex. 9 at Page ID # 419). Plaintiff had no problem with

the review. (RE 45, Tomlinson depo. at 119, Page ID # 324).


      4.    Plaintiff’s 2017 Evaluation

      On March 1, 2018, Wiley contacted Plaintiff to deliver Plaintiff’s

evaluation for 2017. (RE 44, Wiley depo. at 45, 48, Page ID # 224, 227 and

Ex. 23). Plaintiff was off work to take his father to a cancer center. (Id. at

45, # 224 and RE 50-2 at Page ID # Wiley depo. Ex. 24 at Page ID # 578).

Plaintiff did not speak with Wiley before March 14, 2018, when Wiley

emailed Plaintiff the evaluation purporting to cover his performance for

January 1, 2017 – December 31, 2017. (RE 44, Wiley depo. at 22, Page ID

# 201 and depo at 50, Page ID # 229 and Ex. 12, Doc. 45-12, Page ID # 425;

RE 52 Hemmerle depo. at 34, Page ID # 690).

      Wiley was critical of some aspects of Plaintiff’s work. (RE 45-12,

depo. Ex. 12, Page ID # 425). The evaluation surprised Plaintiff and “really

set off” his PTSD. (RE 45, Tomlinson depo. at 113-114, Page ID # 322). He

understood the job had a lengthy learning curve and that he needed more

experience in some areas. (Id.). However, no one had said anything to him
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about any issues or problems during 2017. (RE 50-1, Tomlinson Decl. ¶ 5,
                                                         1
Page ID # 563-64). Plaintiff was blindsided and hurt.         (RE 45 Tomlinson

depo. at Page ID # 113-114).

      Plaintiff contacted Randy Hemmerle, the HR Director. (RE 45,

Tomlinson depo. at 144 145, Page ID # 330). Hemmerle suggested that

Plaintiff speak with Wiley about the evaluation. (Id.) Plaintiff did not want

to talk to Wiley, but he did so as a favor to Hemmerle. (Id. at # 330-331).

In the meantime, according to Wiley, Hemmerle told Wiley that Plaintiff

was not happy with his review. (RE 44, Wiley depo. at 56, Page ID # 235).

      Plaintiff and Wiley eventually spoke on March 22, 2018. Wiley was

defensive and threatening. (RE 45, Tomlinson depo. at 150, Page ID # 332;

RE 52, Hemmerle depo. Ex. 53). Wiley was belligerent. (RE 45, Tomlinson

depo. at 142-43, Page ID # 330-331). He was very aggressive and used a

threatening tone. (Id. at 149-50, Page ID # 331-332). Plaintiff could accept

constructive criticism, but Wiley belittled him. (Id. at 148, 150-51 Page ID #

332). Wiley said Plaintiff he had not learned anything since the time he was

hired. (Id. at 142-43, Page ID # 330). Wiley claimed Plaintiff was calling the

company office in Florence too much for help. (Id.). Wiley would not let

Plaintiff explain his side of the story. (147, 149 Page ID # 331). Wiley told

1
 Hemmerle acknowledged that an employee should never be surprised by a
performance evaluation. (RE 52, Hemmerle depo. at 39-40 Page ID # 691).
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Plaintiff they would have to “agree to disagree.” (Id. at 142, Page ID # 330).

He told Plaintiff to just sign the review and that it did not matter. (Doc. 45-

3, Answer to Interrogatory No. 4, Page ID # 399).

      During their conversation, Wiley told Plaintiff that three customers –

Bolta, Dr. Schneider’s, and IAC – complained about him and did not want

him to return to their site. (Doc. 45, Tomlinson depo. at 146, Page ID. #

331; RE 43, Beene-Skuban at 30, Page ID # 138, Beene-Skuban depo. Ex.

36). Wiley did not provide the details to Plaintiff. (RE 45 at 147, Page ID #

331). However, in his deposition, Wiley backed off and testified that Bolta

was the only customer who said it would rather have its equipment down

than have Plaintiff come back. (RE. 44, Wiley depo. at 59, Page ID # 238).

Wiley acknowledged that customers made requests like that from time to

time, and that such an occurrence would not be a reason to go to the FSE and

tell them they have a complaint. (Id. 59-60 Page ID # 238-39).

      Although not mentioned in his March of 2018 conversation with

Plaintiff, at his deposition, Wiley said identified Berry Plastics as another

customer that provided feedback for the 2017 review. (RE 44, Wiley depo.

at 38-39, Page ID # 217- 218). However, the alleged concern regarding

Berry Plastics did not occur until late February of 2018, well after the 2017

evaluation period closed. (RE 50-2, Wiley depo. Ex. 26, Page ID # 579). It


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was not an issue that could have justified Wiley’s comments regarding
                               2
Plaintiff’s 2017 evaluation.       In addition, although Wiley told Plaintiff in

March of 2018 that were complaints from Dr. Schneider’s, in his deposition,

Wiley did not recall any about Plaintiff. (RE 44, Wiley depo. at 61-62,

Page ID # 240-241). Instead, he mentioned that Stuart Smith, another FSE,

was the subject of complaints by Dr. Schneider’s, not Plaintiff. (Id. at 90

Page ID # 269).

      In fact, Plaintiff’s evaluation was nearly identical to that of Stuart

Smith, another FSE. (50-2 Wiley depo. Ex. 31, Page ID # 593). Except for

the name and starting date of employment, every single word, comment, and

rating were exactly the same. (See id. and Doc. 45-12 at Page ID # 425).

Because there was a reference to “Stuart” in Plaintiff’s evaluation that was

corrected after a review by Hemmerle, it appears that Wiley simply took

Smith’s evaluation, changed the name and starting date, and used it for

Plaintiff. (RE 50-5, Ex. 1, Page ID # 634).

      Finally, although Wiley told Plaintiff in March of 2018 that he spoke

to other FSEs about Plaintiff’s performance, Wiley had not talked to Ryan


2
  Plaintiff’s 2017 evaluation had been completed and reviewed by Randy
Hemmerle in HR as of February 22, 2018, several days before the February
28, 2018 email from Berry Plastics. (RE 50-5 Declaration of Counsel, Ex. 1
at Page ID # 634 and RE 50-2 Wiley depo. Ex. 26 Page ID # 579).

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Kremis, an FSE who frequently worked with Plaintiff. (RE 51, Kremis depo.

at 6, 10, Page ID # 641, 645; RE 44, Wiley depo. at 19, page ID # 198).

Kremis would help out Plaintiff from time to time, and as far as he knew,

when Plaintiff left a customer, the machine was running. (Id. at 13, Page ID

# 648).

         Wiley and Kremis spoke a few weeks later. (RE 51 Kremis depo. at

11 Page ID # 646). At some point during the conversation, Plaintiff was

brought up. Wiley indicated that he may have gotten some things wrong

about Plaintiff. (Kremis depo. at 17, Page ID # 652).


         5.    Plaintiff Complains about Discrimination

         The evaluation and more particularly, Wiley’s subsequent aggressive

and demeaning conversation, aggravated Plaintiff’s PTSD to the point that

he needed time off work. In early May of 2018, he applied for short-term

disability benefits. (RE 45, Tomlinson depo. at 163, Page ID # 335, Doc.

45-14, Page ID # 432).     Plaintiff took leave under the FMLA and applied

for short-term disability benefits. (Id. at 158-59, Page ID # 334).

         On the morning of May 18, 2018, Plaintiff sent an email to Paul

Caprio, Defendant’s President and CEO. (RE 46-2, Page ID # 486). Plaintiff

wrote:



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I have tried to state a complaint against John Wiley and no one
seems to take this serious. I received my performance review
and between the letter in the email and the review itself I find
statements made that are false and damaging and I feel he is
discriminating against my PTSD. I informed Randy in HR a
year ago of my medical condition when having some issues
causing complications and I have not asked for any special
conditions other than I can’t deal with bullying or harassment.
John brings up things he has no idea of what he is talking about
yet doesn’t hesitate to throw me under the bus over them and he
needs to be held accountable for them. I had talked to Randy
about this and he said to talk to John and when I talked to him
each issue I tried to discuss all I got was flippant reply’s. I tried
dealing with this until it affected my condition to where I had to
burn PTO days and recently had to go to the emergency room at
the hospital for need of help for my anxiety and depression
getting out of control. I am on short term disability under the
care of a Psychiatrist who had to increase my meds, John’s
action have affected me physically and emotionally. In the year
and a half I have worked for KM I have done nothing but to try
and learn my job and always leaving the customer site with the
machine running, I know I have a lot to learn but now because
of John’s action it will be that much harder because of the time
away from work and the complications of being able to
concentrate. My condition is a disability and I am tired of
people not recognizing it because they cannot see it and I went
into lengths explaining this to Randy last year. I have tried to
contact Jenny Been-Skuban because I thought she was
supposed to deal with complaints but never received any
assistance from her and that is why I am moving to the next
level. I am greatly disappointed to have a manager that has
caused me this suffering, not take my condition seriously and
couldn’t even give me the time to have a serious discussion
about how he came to these conclusions when he didn’t know
what he was talking about. All I want to do is my job working
in a safe environment and I feel John has ruined that. I hope that
someone will take this serious and have a talk with me so this
can be discussed in more details. I feel if there are reviews to be
made the Field Service Engineers make out reviews on him.


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(Id.). Randy Hemmerle, the HR Director, called Plaintiff shortly thereafter.

(RE 52, Hemmerle depo. at 23 Page ID # 687, and Doc. 45-15, Tomlinson

depo. Ex. 15 Page ID # 444).

       Plaintiff’s emotional state for the next several weeks was very poor.

(RE 50-1 Tomlinson Decl. ¶ 6, Page ID # 564). He sought treatment from a

psychiatrist who adjusted his medications. (Doc. 45, Tomlinson depo. at

160-61, 167-170, Page ID # 334 -337 and Doc. 45-14, Page ID # 441). He

was in a very dark and negative place and found it difficult to communicate.

(Tomlinson depo. at 176, Page ID # 338). Plaintiff did not believe that

Defendant was taking his complaint and situation seriously. Plaintiff wanted

to return to work, but he also needed to feel comfortable and know that the

situation was resolved before he could do so. He could not get better and

even consider returning to work until he felt comfortable that Defendant

would take steps to avoid another hostile and negative interaction with

Wiley. (RE 50-1, Tomlinson Decl. ¶ 8, Page ID # 564).


6.     Defendant’s Investigation

       In late July of 2018, Ms. Beene-Skuban investigated Plaintiff’s

complaint. (RE 45-18, Page ID # 451). She spoke with Plaintiff on July 26,

2018. (Id.). He explained his complaints about Wiley and the evaluation

process. (Id.).
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      Ms. Beene-Skuban also spoke with Ryan Kremis. He told her that

Plaintiff wanted to learn. (RE 51 at Page ID # 769). He also told her that the

manager at Bolta, one of the customers who allegedly complained about

Plaintiff, was “crazy.” (Id.). He further stated that he did not know how

Wiley would know about Plaintiff’s performance other than through Aeric

Bouza, the Service Coordinator. (Id.)

      Ms. Beene-Skuban also spoke with Aeric Bouza. (RE 45-18 at Page

ID # 452). Although Wiley had complained that Plaintiff relied too much on

Bouza for technical help, Bouza denied that. He told Beene-Skuban that

Plaintiff occasionally called for help, but that “it wasn’t too much.” (Id.).


 7.   Defendant Denies Plaintiff’s Accommodation Requests

      Plaintiff wanted to return to work. (RE 43 Beene-Skuban depo. at 18,

35 Page ID # 126, 143). He expected a conference call with Beene-Skuban,

Wiley, and Randy Hemmerle before he returned to resolve the situation and

to set up a plan for how he could return and avoid further aggravation of his

symptoms. (Tomlinson depo. at 188 and RE 45-3, Page ID # 400, RE 50-1,

Tomlinson Decl. ¶ 8 Page ID #564). Plaintiff wanted to have a conversation

about what they were going to do to help him feel better about coming back

to work. (RE 45, Tomlinson depo. at 158, Page ID # 334). Plaintiff looked



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forward to the group call. (Id. at 174-75). It never happened. (Id. at 158,

188, Page ID # 334, 341).

      Plaintiff also proposed that he be able to work with Aeric Bouza

rather than Wiley. (Doc. 45, Tomlinson depo. at 203, 221-222 Page ID #

350)(“Can I just have it where I am working with Aeric?”; and RE 52

Hemmerle depo. at 29-30, Page ID # 689). Plaintiff’s day-to-day work

assignments came through Bouza and Plaintiff presented work problems and

issues to him for resolution. (Id. at 87-88, page ID # 316). Plaintiff rarely

saw Wiley, and Wiley was typically slow to respond to Plaintiff, if at all. (Id.

at 188-189, Page ID # 341). Plaintiff wanted to work for someone who was

not going to be abusive. (RE 45, Tomlinson depo. at 222, Page ID # 350).

He needed to return to work in an environment in which he felt safe. (RE 45

Tomlinson depo. at 205, Page ID # 345).

       Ms. Beene-Skuban “bluntly” denied Plaintiff’s request to report to

Bouza. (RE 45, Tomlinson depo. at 158, Page ID # 334). Ms. Beene-

Skuban testified that she would not have been open to allowing Plaintiff to

report to anyone other than Wiley because it was not “part of our structure.”

(RE 43, Beene-Skuban depo. at 36-37, Page ID # 144). She told Plaintiff

that if he returned to work, he would have to report to Wiley. (RE 43,

Beene-Skuban depo. at 25, 36-37 Page ID # 133, 144-45).


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      8.    Defendant Changes the Evaluation Process for FSEs at the
            Conclusion of the Investigation

      Ms. Beene-Skuban concluded her investigation on about August 13,

2018. (RE 45-18 at Page ID # 451). She determined that there was no

discrimination by Wiley. (Id. at Page ID # 455).

      HR Director Hemmerle testified that toward the end of the

investigation, the idea was raised to allow Service Coordinators like Bouza

to complete the annual performance evaluations for the FSEs like Plaintiff.

(RE 52 Hemmerle depo. at 44-45, Page ID # 692-93). On August 21, 2018,

Ms. Beene-Skuban and Hemmerle met with Paul Caprio, the CEO, and

Chris Chapman, the Vice President of Administration and Finance, to

discuss the investigation and “lessons learned.” (RE 50-2, Beene-Skuban

depo. Ex. 46, Page ID # 616). They discussed having the Coordinators do

the evaluations instead of Wiley. (RE 43, Beene-Skuban depo. at 47-48,

Page ID # 155-166). The modification in Defendant’s evaluation process

was consistent with Plaintiff’s request to work with Bouza instead of Wiley.

Defendant implemented the change and Bouza performed the evaluations for

FSEs during the next rating period. (RE 52 Hemmerle depo. at 45, Page ID #

643 and RE 50-2, depo. Ex. 32 at Page ID # 595).




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      9.    Plaintiff’s Constructive Termination

      Plaintiff did not believe that anyone at the company was serious about

bringing him back and working with him. (RE 45, Tomlinson depo. at 219-

220, Page ID # 349). He sought other work for his own mental health. (Id. at

Page ID # 308). Plaintiff applied for a job with Avure in early August of

2018. He provided potential starting dates of August 13 and August 20,

2018. (RE 46-3, Page ID # 523).

      On August 8, 2018, Ms. Beene-Skuban told Plaintiff that she was

nearing the end of her investigation. (RE 50-2 Ex. 44 at Page ID # 615).

      Ms. Beene-Skuban’s next communication with Plaintiff was on

August 20, 2018. She advised him of some of her findings, including that

Wiley had not discriminated against him. (RE 45-19, Tomlinson depo. Ex.

19 at Page ID # 456). She did not tell Plaintiff that she and other top

managers like Hemmerle and Caprio were considering having Coordinators

like Bouza perform evaluations instead of Wiley. (Id.).

      Plaintiff submitted his resignation on August 24, 2018. (RE 45-19,

Page ID # 458). He stated:

      “I am disappointed with how KM has (sic) allowed not to take
      this discrimination and my disability seriously and as of today I
      resign . . . It is sad that my career and my mental and physical
      health had to suffer because of John Wiley.”



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(Id.). There is no evidence that anyone from Defendant contacted Plaintiff

to ask him to reconsider or discuss his decision.

      Plaintiff began working at Avure on August 27, 2021. (RE 45,

Tomlinson depo. at 52, page ID # 307). His time there was short. He was

still feeling the effects of what happened with Defendant. He resigned in late

December of 2018. (Id. at 56-57, Page ID # 308).


                   II.    SUMMARY OF ARGUMENT

      The district court erred when it held that Plaintiff’s request for a

change in supervision was not a reasonable accommodation. The court

noted that such requests are “generally” not reasonable, but if failed to

address the specific circumstances presented in this case. Plaintiff worked in

the field at customer sites. Wiley did not supervise Plaintiff on a daily basis,

and the two had very infrequent contact. Wiley relied on others, including

Aeric Bouza, to evaluate Plaintiff’s work. Plaintiff already reported to Bouza

for his day-to-day work assignments and customer trouble-shooting

activities. Allowing Plaintiff to Bouza engage in minimal additional

supervisory activities would not have resulted in any undue hardship to

Defendant. In fact, unbeknownst to Plaintiff, shortly before Plaintiff’s

constructive discharge, Defendant discussed having Bouza do evaluations

for all of the FSEs in his department, and Defendant implemented that
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change for the next evaluation cycle. The district court did not mention or

address this important fact in its decision.

      The district court also erred when it held that Defendant engaged in

the interactive process regarding Plaintiff’s request to change supervisors.

When Plaintiff asked for a different supervisor, Defendant rejected the

request out of hand. There was no discussion or consideration regarding how

Defendant could change the method of supervision to allow Plaintiff return

to work without having to worry about another negative interaction with

Wiley. As noted above, there was a reasonable accommodation available

which Defendant was considering, but Defendant never disclosed it to

Plaintiff before he was forced to quit.

      Finally, the district court erred when it found that Plaintiff failed to

create a sufficient dispute of fact regarding his constructive discharge. The

situation was intolerable. Defendant refused to accommodate Plaintiff,

refused to discuss alternative methods of supervision, and failed to offer any

alternatives that would have allowed him to return to work. Jurors could

conclude that the situation was intolerable and that Plaintiff’s decision to

resign was reasonable.




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                            III.   ARGUMENT

A.    Standard Of Review

      This appeal is subject to de novo review under "the same test as that

used by the district court in reviewing a motion for summary judgment."

Berlin v. Michigan Bell Tel. Co., 858 F.2d 1154, 1161 (6th Cir. 1988) citing

Hand v. Central Transport, Inc., 779 F.2d 8, 10 (6th Cir. 1985).

      The court evaluating a summary judgment motion must construe the

evidence in the record and all inferences to be drawn from it in the light

most favorable to the party opposing the motion. United States v. Diebold,

369 U.S. 654, 655 (1962); 60 Ivy Street Corp. v. Alexander, 822 F.2d 1432,

1435 (6th Cir. 1987); and Blakeman v. Mead Co. Containers, 779 F.2d 1146,

1150 (6th Cir. 1985). “[A]lthough the court should review the record as a

whole, it must disregard all evidence favorable to the moving party that the

jury not required to believe.” Reeves v. Sanderson Plumbing Products Inc.,

530 U.S 133, 151 (2000). Disputed facts are to be resolved in favor of the

non-moving party. Kraus v. Sobel Corrugated Containers, Inc., 915 F.2d

227, 231 (6th Cir. 1990).

      In Tolan v. Cotton, 572 U. S. 650, 660, 134 S. Ct 1861 (2014), the

Court reinforced the principles applicable to summary judgment. The Court




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reversed a decision granting summary judgment where factual disputes

existed, and noted:

       The witnesses on both sides come to this case with their own
       perceptions, recollections, and even potential biases. It is in part for
       that reason that genuine disputes are generally resolved by juries in
       our adversarial system. By weighing the evidence and reaching factual
       inferences contrary to Tolan's competent evidence, the court below
       neglected to adhere to the fundamental principle that at the summary
       judgment stage, reasonable inferences should be drawn in favor of the
       nonmoving party.

       The court should not resolve factual disputes by weighing conflicting

evidence. It is the jury's role to assess the probative value of the evidence.

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986); Kraus, 915 F.2d

230. Credibility questions should not be decided on summary judgment.

Anderson, supra, at 249. Questions of motive, intent, and state of mind are

rarely appropriate for summary disposition. 60 Ivy Street, supra; United

States Postal Service v. Aikens, 460 US 711, 716 (1983); Kand Medical, Inc.

v. Freund Medical Products, Inc., 963 F.2d 125 (6th Cir. 1992). In

discrimination cases, “an employer’s true motivations are particularly

difficult   to   ascertain…thereby      frequently    making    such      factual

determinations unsuitable for disposition at the summary judgment stage.”

Singfield v. Akron Metro. Housing Authority, 389 F. 3d 555, 564 (6th Cir.

2004).



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B.    The District Court Erred in Granting Summary Judgment
      on Plaintiff’s Claim Failure-to-Accommodate Claim

      Plaintiff alleged that Defendant discriminated against him in violation

of both the Americans with Disabilities Act (ADAAA), 42 U.S.C. §12101 et

seq. and KRS § 344. 010 et seq. (Doc. 1, Complaint Page ID # 3, ¶ 15).

Courts apply the same standards to claims under the ADA and KRS § 344.

See Jackson v. Regal Beloit Am., Inc., 2018 U.S. Dist. LEXIS 103682 at *

12 (E.D. Ky. Jun. 21, 2018) and Charalambakis v. Asbury University, 488

S.W.3d 568, 575 (Ky. 2016).

       To establish a prima facie case for the failure to accommodate his

disability, Plaintiff needed to show (1) he is disabled; (2) he is otherwise

qualified for the position, with or without reasonable accommodation; (3) his

employer knew or had reason to know about his disability; (4) he requested

an accommodation; and (5) the employer failed to provide the necessary

accommodation. (RE 62 at Page ID # 761, citing Keough v. Concentra

Health Servs., Inc., 752 Fed.App’x 316, 326 (6th Cir. 2018)(citing DiCarlo v.

Potter, 358 F.3d 408, 419 (6th Cir. 2004)). When the plaintiff presents a

failure-to-accommodate claim, the case is treated as one involving direct

evidence, and the McDonnell-Douglas framework does not apply. Kleiber v.

Honda of Am. Mfg., Inc., 485 F.3d 862, 868 (6th Cir. 2007)("[C]laims

premised upon an employer’s failure to offer a reasonable accommodation
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necessarily involve direct evidence ... of discrimination."); see also Brumley

v. United Parcel Serv., Inc., 909 F.3d 834, 839 (6th Cir. 2018).3

      The district court held that Plaintiff’s accommodation claim failed

because he did not adequately engage in the interactive process and because

his request for a change in his supervisor was not reasonable under this

Court’s precedent. (RE 62 at Page ID # 762). The court erred.

      When an employee puts an employer on notice that he has a disability,

the employer is obligated to engage in an “interactive process” to determine

the nature of the disability and the appropriate accommodation. Talley v.

Family Dollar Stores of Ohio, 542 F.3d 1099, 1110 (6th Cir. 2008). The

"interactive process is mandatory and both parties have a duty to participate

in good faith." Kleiber, supra, 485 F. 3d at 871. The process "requires

communication and good-faith exploration of possible accommodations."

Id.; see also 29 C.F.R. § 1630.2(o)(3). The purpose of the interactive process

is to “identify the precise limitations resulting from the disability and

potential   reasonable   accommodations       that   could     overcome    those

limitations." Id., quoting 29 C.F.R. § 1630.2(o)(3). Employers who fail to


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  Plaintiff also alleged that Defendant discriminated against him during the
evaluation process. The district court held that there was no evidence that
Wiley was aware of Plaintiff’s disability at the time he completed the
evaluation. (RE 62 at Page ID # 760). Plaintiff is not pursuing that part of his
claim in this appeal, except as it relates to his constructive discharge.
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engage in the interactive process in good faith may face liability under the

ADA if a reasonable accommodation would have been possible. Lafata v.

Church of Christ Home for the Aged, 325 Fed.Appx. 416, 422 (6th Cir.

2009)(quoting Barnett v. U.S. Air, Inc., 228 F.3d 1105, 1114 (9th Cir. 2000)

(en banc), vacated on other grounds, 535 U.S. 391, 122 S.Ct. 1516, 152

L.Ed.2d 589 (2002).

      The district court noted that Plaintiff did not request an

accommodation until July 17, 2018. (RE 62 at Page ID # 764). However,

Plaintiff testified that after he left work in May of 2018, his emotional state

deteriorated, and he found it difficult to communicate. (RE 50-1, Tomlinson

Decl. ¶ ¶ 6-7 Page ID # 564). This was a symptom of his condition. (Id. ¶ 3

Page ID # 563).

      In any event, the relevant time period for analyzing whether the

parties engaged in the interactive process does not begin until a request for

accommodation is made. See Arndt v. Ford Motor Co., 716 Fed.App’x 519,

528 (6th Cir. 2017) (finding that “the district court did not err in determining

that the relevant interactive process was not triggered until Arndt was

released to return to work with the service-dog restriction and made his

second request for accommodation.”).




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      As argued below, Plaintiff made a reasonable request for

accommodation in July of 2018. Defendant’s subsequent refusal to engage in

the interactive process resulted in the failure to accommodate Plaintiff, and

ultimately, his constructive discharge.


      1.      Plaintiff requested a reasonable accommodation

      The ADA and KRS require an employer to accommodate disabled

employees. It is a violation of the Act for an employer to fail to make

“reasonable accommodations to the known physical or mental limitations of

an otherwise qualified individual with a disability who is an applicant or

employee, unless [the employer] can demonstrate that the accommodation

would impose an undue hardship on the operation of the business.” 42

U.S.C. § 12112(b)(5)(A). See also KRS § 344.280. When the claim is based

on the failure to accommodate, the refusal to accommodate is the adverse

action at issue. See DiCarlo, supra 358 F.3d at 419.

      Under     the   ADA,    reasonable     accommodations     include   “job

restructuring, part-time or modified work schedules, reassignment to a

vacant position, acquisition or modification of equipment or devices ... [or]

other similar accommodations for individuals with disabilities. 42 U.S.C. §

12111(9) and 29 C.F.R. §1630.2 (o). An accommodation is “any change in

the work environment or in the way things are customarily done that enables
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an individual with a disability to enjoy equal employment opportunities.” 29

CFR 1630.2(o) and Pt. 1630, App. § 1630.2(o)

         A disabled employee “bears the initial burden of proposing an

accommodation and showing that that accommodation is objectively

reasonable." Kleiber, supra, 486 F. 3d at 870, quoting Hedrick v. W. Reserve

Care Sys. & Forum Health, 355 F.3d 444, 457 (6th Cir.2004). “An

employer, then, has the burden of persuasion to show that an

accommodation would impose an undue hardship." Hedrick, 355 F.3d at 457

and Cehrs v. Northeast Ohio Alzheimer’s et al., 155 F.3d 775, 782 (6th Cir.

1998).

         Plaintiff asked for a change regarding his supervisor. He wanted to

work with Aeric Bouza instead of Wiley. (Doc. 45, Tomlinson depo. at 203,

221-222 Page ID # 350). Defendant refused because doing so was not

consistent with its’ “structure”. The district court held that “a change of

supervisor, is generally not considered ‘reasonable’ for purposes of an

accommodation claim.” (RE 62 at Page ID #764, citing Deister v. Auto Club

Ins. Ass’n., 647 Fed.App’x 652, 658 n. 2 (6th Cir. 2016)). The court erred.

         First, while recognizing that a change of supervisor is “generally” not

considered a reasonable accommodation, the court did not explain why it

was not reasonable in this case. The Supreme Court has noted that whether


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an employee’s request is reasonable is fact-specific and should not be

subject to a per se rule. In US Airways, Inc. v. Barnett, 535 U.S. 391 (2002),

the court addressed the question of reasonable accommodation in the context

of a seniority system. 535 U.S. at 395-396. The court refused to adopt a

blanket rule and instead, explained that in some situations, the ADA requires

an employer to provide reasonable accommodations that depart from

disability-neutral workplace rules. Id. at 397-398. According to the court, an

employee may defeat an employer’s motion for summary judgment by

“show[ing] that an ‘accommodation’ seems reasonable on its face, i.e.,

ordinarily or in the run of cases.” 535 U.S. at 402. The court held that when

a requested accommodation is not reasonable on its face, an employee may

still prevail if he satisfies his “burden of showing special circumstances” by

“explain[ing] why, in the particular case,” the requested accommodation

“can constitute a ‘reasonable accommodation’ [under the ADA] even though

in the ordinary case it cannot.” Id. at 406. If an employee can demonstrate

that a requested accommodation is reasonable either on its face or in the

circumstances of the case, the burden then shifts to the employer to “show

special (typically case-specific) circumstances that demonstrate undue

hardship in the particular circumstances.” Id. at 402.




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      Consistent with Barnett, in Cehrs this court declined to adopt a per se

rule that an employee’s request for a leave of absence as an accommodation

is unreasonable. According to the court, doing so would relieve the employer

from ever having to demonstrate undue hardship. 155 F. 3d at 782. The court

further noted that such an approach “eviscerates the individualized attention

that the Supreme Court has deemed ‘essential’ in each disability claim.). See

also García-Ayala v. Lederle Parenterals, Inc., 212 F.3d 638, 650 (1st Cir.

2000)(noting that “[t]hese are difficult, fact intensive, case-by-case analyses,

ill-served by per se rules or stereotypes.”). Although this case involves a

change in supervision, the same rationale for rejecting a per se rule applies.

      In Kennedy v. Dresser Rand Co., 193 F.3d 120, 123 (2nd Cir. 1999),

the court addressed an employee’s request for a different supervisor and held

that “A per se rule stating that the replacement of a supervisor can never be a

reasonable accommodation is therefore inconsistent with our ADA case

law.” The court stated that there is a presumption against changing

supervisors, but as in all cases, “the plaintiff must demonstrate the

reasonableness of the request in the context of the plaintiff’s workplace.” Id.

Although Kennedy is not a Sixth Circuit decision, its’ analysis and rationale

are consistent with Barnett and Cehrs.




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      Plaintiff’s request for a change in supervision was reasonable under

the circumstances and in the context of his workplace. Plaintiff had a

difficult interaction with Wiley which resulted in a flare up of his condition

requiring treatment and medical leave. Wiley was Plaintiff’s supervisor in

name only. He and Plaintiff did not have daily or even frequent interaction.

Plaintiff saw Wiley about twice a year at group meetings and rarely had any

individual interaction with him. Wiley did not direct or oversee Plaintiff’s

customer service work in the field. Instead, Wiley had had to rely on

feedback from others, including Bouza, to evaluate Plaintiff’s performance.

Except for the task of completing Plaintiff’s evaluations, Bouza was

effectively Plaintiff’s supervisor. Very little needed to change. There was no

need for coworkers to know about the accommodation, and no one would

have suspected that anything out of the ordinary was happening. All outward

appearances would have remained the same.

      The district court held that Defendant was not “obliged to

accommodate Tomlinson to by assigning a coworker to supervise him.” (RE

62 at Page ID # 764; see also id. at Page ID # 750, “Bouza was Tomlinson’s

coworker, not his supervisor.”). Although both reported to directly to Wiley,

Bouza was clearly at a higher level than Plaintiff. Bouza gave Plaintiff his

work assignments and acted as a supervisor to Plaintiff. When Plaintiff had


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questions, he went to Bouza, not Wiley. Bouza was the point of contact for

customers who raised questions about FSEs. Wiley looked to Bouza for

input when he did evaluated Plaintiff. (RE 45 Wiley depo. at Page ID # 208,

216).

        Second, the district court’s reliance on Deister was misplaced. In

Deister, there was no analysis of whether changing supervisors was a

reasonable accommodation. In fact, there was no evidence that Deister even

requested an accommodation. Id. at 657. Instead, in a footnote, the panel

noted that the district court had cited Burdett-Foster v. Blue Cross & Blue

Shield of Michigan, 574 Fed.App’x 672 (6th Cir. 2014) for the proposition

that “an employer is not obliged to honor, as a ‘reasonable accommodation,’

an employee's request for assignment to a different supervisor.” Id. at note

2. But the district court’s opinion in Deister said nothing about changing

supervisors as an accommodation. Rather, it cited Burdette-Foster only in

the context of a transfer as an accommodation. See Deister v. Auto Club Ins.

Ass’n., 91 F. Supp 3d 905, 929 (E.D. Mich. 2015) citing Burdette-Foster at

680 ("Even if Burdett-Foster had requested a transfer to a new position (and

she made clear in her deposition that she had not), such an accommodation

is reasonable only if there is another position for which she would have been

qualified.").


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      Nor does Burdett-Foster support the district court’s decision in this

case. As in Deister, the panel noted that Burdett-Foster did not make a

request for accommodation other than to be able to make frequent trips to

the bathroom. Burdett-Foster, 574 Fed.App’x at 680. Her other request that

“potentially” amounted to an accommodation – to remain in the same

department but report to a different supervisor – was denied due to her

seniority, not because the request was per se unreasonable. Id.

      Neither Deister nor Burdett-Foster support the district court’s finding

in this case. Neither employee requested a change in supervision as an

accommodation, and neither court analyzed the issue. The cases did not

establish a banket rule in this circuit that a change supervision is an

unreasonable request for accommodation under the ADA. 4

      Defendant’s own conduct has proven the reasonableness of Plaintiff’s

request. Although Defendant refused to even consider a change in

supervision, as noted above, at the conclusion of the investigation of

Plaintiff’s complaint, Defendant changed course and had Bouza complete


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  It appears that this court has yet to address the issue head on. As noted
above, in Deister and Burdett-Foster the statements appear to be dicta. In
Tinsley v. Caterpillar Fin. Servs., Corp., 766 Fed.App’x 337, 342 (6th Cir.
2019), the plaintiff also requested a different supervisor as an
accommodation, but the court did not reach the issue since it determined that
Tinsley was not disabled.

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the annual performance evaluations instead of Wiley. (Hemmerle depo. at

44; Doc. 43, Beene-Skuban depo. at 47-48, Page ID # 155-156; Doc. 44,

Wiley depo. at 95, Page ID # 273; and RE 50-2, Wiley depo. Ex. 32, listing

Bouza as the “Manager” at Page ID # 595).           The district court never

mentioned this important fact.

      In sum, the district court’s analysis of Plaintiff’s request for a change

of supervisor was inconsistent with the law and the intent of the ADA. The

cases make it clear that claims under the ADA are fact-intensive and should

not be subject to a per se rule. Instead, courts and the trier of fact need to

review all of the facts and circumstances to determine whether the requested

accommodation is reasonable. The starting point should be the recognition

that under the ADA, accommodation may mean changing the way things are

typically done. See 29 CFR 1630.2(o) and Pt. 1630, App. § 1630.2(o)(noting

that accommodation may be any change in the work environment or in the

way things are customarily done that enables an individual with a disability

to enjoy equal employment opportunities.”)(emphasis ours). Employers

should not simply be allowed to say the request “does not fit our structure”

and terminate the process without having to engage in further discussion,

consider alternatives, or demonstrate undue hardship. The ADA’s

accommodation process requires more. Plaintiff was not looking for special


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treatment or to work for a friend. He simply wanted to avoid a situation

where his condition would be aggravated by another negative interaction

with Wiley. It would seem that Defendant would have wanted the same and

would have been more interested in finding ways to avoid further issues

between Wiley and Plaintiff.


      2.    Defendant failed to engage in the interactive process
            regarding Plaintiff’s request regarding a change in
            his supervision

      The district court stated that “There is no reasonable inference to be

drawn from the record evidence that KMC failed to engage in the interactive

process with Tomlinson in good faith. See Arndt v. Ford Motor Co., 716

Fed.App’x 519, 528 (6th Cir. 2017).” (RE 62 at Page ID # 764). However,

reasonable jurors viewing the evidence in a light most favorable to Plaintiff

could reach a different conclusion.

      First, Defendant immediately shut down any discussion about a

change in supervision. Defendant refused to engage in any conversation or

give any consideration to how Plaintiff could be supervised differently. The

concept was flatly rejected. (Doc. 43, Beene-Skuban depo. at 36, Page ID #

144). However, as demonstrated above, under the circumstances presented

in this case, options were available. If Defendant insisted that Wiley still

perform Plaintiff’s evaluation, Defendant could have considered having
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Bouza or Hemmerle instead of Wiley deliver the evaluation and go over the

ratings and comments with Plaintiff. Wiley would have still done the

appraisal, but the likelihood of another demeaning conversation like the one

which aggravated Plaintiff’s condition would have been minimized. Nor was

there any consideration or discussion about even a temporary change in

supervision that would have enabled Plaintiff to return to work.

      Second, according to the EEOC, the ADA may require that

supervisory methods be altered as a form of reasonable accommodation.

(See EEOC Guidance on the ADA and Psychiatric Disabilities, RE 50-3 at

Page ID # 623). Plaintiff’s request regarding working with Bouza instead of

Wiley could also be construed as opening the door to discussions about ways

for Plaintiff and Wiley to interact using a different “supervisory method.”

      Accordingly, even if this Court determines that a change in supervisor

was not reasonable in this case, the district court erred by allowing

Defendant to completely sidestep any discussion and interactive process

about how Plaintiff could be accommodated by exploring different ways for

Wiley to supervise Plaintiff to lessen the likelihood of further negative

interactions. For example, as stated above, Bouza or Hemmerle could have

delivered the substance of Wiley’s evaluations. Wiley could have been

educated about how PTSD affected Plaintiff so that he understood what type


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of comments or behavior would trigger a negative reaction. Another

potential approach would be for Hemmerle or Jenny-Beene Skuban to be

present on those rare occasions when Plaintiff and Wiley needed to speak.

Defendant’s conduct precluded consideration of any of these or other

alternative supervisory methods.

      In light of the above, jurors could find that Defendant failed to

properly engage in the interactive process.


      3.     There was no undue hardship

      Since Plaintiff has shown that a change in supervision and/or

supervisory methods was reasonable in this case, the burden shifts to

Defendant to demonstrate that Plaintiff could not be accommodated because

of "undue hardship." Smith v. Ameritech, 129 F.3d 857, 866 (6th Cir.1997)

and Cehrs, supra, 155 F.3d at 782 (“If an employer cannot show that an

accommodation unduly burdens it, then there is no reason to deny the

employee the accommodation.”). Ultimately, undue hardship is a question

of fact for the jury to decide. Id. at 783.

      None of the options for accommodation available in this case would

have created any undue hardship for Defendant. As noted, at around the time

of Plaintiff’s constructive discharge, Defendant changed its structure so that

Aeric Bouza would do evaluations for all Injection Molding FSEs like
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Plaintiff. If Defendant could do so for all FSEs, it easily could have done so

for Plaintiff without undue hardship.

       In addition, having a call with Plaintiff before he returned to work to

try to make him feel comfortable about coming back would not have

resulted in any hardship. Defendant planned on having a similar discussion

in-person after Plaintiff returned. (Doc. 45-19, Page ID # 457). The only

difference was the timing of the discussion. Plaintiff needed to hear what

Defendant had to say before he came back to relieve some of his anxiety and

to feel that he was returning to a healthy environment. In Talley, the court

addressed a similar request and determined that an issue of fact precluded

summary judgement when the employer “failed to engage in this process by

not setting up a meeting as promised to discuss possible resolutions to the

issue.” 542 F.3d at 1109. The court further stated that at this meeting, “the

parties might have further discussed and resolved what accommodations

could allow Talley to return to work without presenting an undue hardship

for the company. There is a genuine issue of material fact regarding who

was responsible for the breakdown in the interactive process.” Id. The same

is true here.

       In sum, jurors could find that none of the available accommodations

in this case would have resulted in undue hardship to Defendant.


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       4.     Defendant’s Conduct Resulted in Plaintiff’s Constructive
              Discharge

       As noted by the district court, a constructive discharge can satisfy the

“adverse action” element of a prima facie case applicable to discrimination

claims. (RE 62 at Page ID # 766, citing Saroli v. Automation & Modular

Components, Inc., 405 F.3d 446, 451 (6th Cir. 2005)). See also Laster v.

City of Kalamazoo, 746 F.3d 714, 727-728 (6th Cir. 2014) citing Koscis v.

Multi-Care Mgmt. Inc., 97 F.3d 876, 886 (6th Cir. 1996) (employee may

establish an adverse employment action by demonstrating that he was

constructively discharged).

       In the proceedings below, the parties and the district court incorrectly

stated that the employer’s intent was an element of a constructive discharge.

(RE 46-1, Defendant’s memorandum at Page ID # 478; RE 50 at Page ID #

559; and RE 62, Decision at Page ID # 766, 767). As summarized by the

district court:

        “A constructive discharge occurs when the employer, rather
       than acting directly, deliberately makes an employee's working
       conditions so intolerable that the employee is forced into an
       involuntary resignation.” Laster v. City of Kalamazoo, 746 F.3d
       714, 727 (6th Cir. 2014)). To survive this motion for summary
       judgment, Tomlinson must show there are genuine disputes of
       material fact that (1) KMC deliberately created intolerable
       working conditions, as perceived by a reasonable person, (2)
       with the intention of forcing Tomlinson to resign. See id. (citing
       Laster, at 727-28).”
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(RE 62 at Page ID # 766).

      In Green v. Brennan, 578 U.S. 547 (2016), the Supreme Court

explained that, if an employee establishes intolerability, “[w]e do not also

require [the] employee to come forward with proof—proof that would often

be difficult to allege plausibly—that not only was the discrimination so bad

that he had to quit, but also that his quitting was his employer’s plan all

along.” Green, 136 S. Ct. at 1779-80. See also Everly v. Everly, 958 F.3d

442, 463 (6th Cir. 2020)(describing the two elements of a constructive

discharge claim as follows: "(1) an employer must engage in such

intolerable discriminatory conduct that a reasonable person would feel

compelled to resign and (2) the employee must actually resign." ).

      In Tchankpa v. Ascena Retail Grp., Inc., 951 F.3d 805 (6th Cir. 2020),

the court acknowledged the decision in Green, but did not apply it because

Tchankpa invited error in the district court. Although this appeal presents the

same procedural posture, Appellant requests that this court apply Green

rather than prior circuit precedent. See Ne. Ohio Coal. for the Homeless v.

Husted, 831 F.3d 686, 720-21 (6th Cir. 2016) (following Supreme Court

precedent,   not   subsequent    contrary     circuit   precedent,   in    similar

circumstances, and collecting apposite decisions from other circuits).



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      In addressing the element of intolerability, the district court stated that

“Between Wiley’s negative review and KMC’s evident willingness to

investigate and rectify and discrimination in the company, nothing suggests

any condition at KMC would be intolerable to a reasonable person.” (RE 62

at Page ID # 767). However, the court viewed the facts in a light favorable

to Defendant instead of Plaintiff. Reasonable jurors could conclude that

Wiley’s behavior and Defendant’s failure to accommodate Plaintiff led to an

intolerable situation.

      Wiley issued an evaluation that was based on inaccurate information,

and which appears to have been a review of Stuart Smith’s performance
                          5
instead of Plaintiff’s.       When Plaintiff attempted to address the review,

Wiley became defensive, hostile, and threatening. His tone went beyond

what was necessary for a constructive conversation about Plaintiff’s

performance, and he attacked Plaintiff’s competence. The fact that Wiley

may not have sworn at Plaintiff or threatened his employment does not

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  Even if not discriminatory, Wiley’s evaluations appear to have been the
product of convenience and haste rather than appropriate consideration of
Plaintiff’s performance. As noted above, Wiley gave Plaintiff an evaluation
intended for Stuart Smith. The content of the two evaluations is identical.
(See RE 45-12 at Page ID # 426 and RE 50-1, Ex. 31 at Page ID # 593).
When Hemmerle reviewed Wiley’s evaluations on about February 22, 2018,
Hemmerle pointed out at least six situations where Wiley used incorrect
names of employees in completing the evaluations. (RE 50-5, Declaration of
Counsel, Ex. 1 at Page ID # 634). These facts demonstrate that Plaintiff had
good cause to question Wiley’s evaluation.
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lessen the impact of his tone and words on Plaintiff, whose condition makes

him sensitive to aggressive behavior. (RE 62 at Page ID # 747). A person

without PTSD may have been able to handle it; Plaintiff could not.

      In addition, Defendant never told Plaintiff that it was considering

having Bouza do his evaluations. Instead, the message was absolute that if

Plaintiff returned to work, he would have to report to Wiley. For Plaintiff

this was intolerable. He had legitimate concerns about any interactions with

Wiley that could result in another serious aggravation of his PTSD

symptoms.

      In short, Plaintiff made a request for an accommodation that

Defendant refused without and further discussion and without proposing any

alternatives that would have allowed Plaintiff to return to work. In Talley,

this court held that "when an employee makes a repeated request for an

accommodation and that request is both denied and no other reasonable

alternative is offered, a jury may conclude that the employee's resignation

was both intended and foreseeable." 542 F.3d at 1109. The same result

should follow here.

      Similarly, in Smith v. Henderson, 376 F.3d 529 (6th Cir. 2004), the

court held that the plaintiff raised a jury question regarding her constructive

discharge. The court noted that reasonable jurors could infer that the


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repeated failure to accommodate Smith’s request would cause her working

conditions to become intolerable for a person suffering from her disability.

According to the court, “a reasonable jury could conclude that the USPS

knowingly and deliberately ‘turned its back’ on Smith, and therefore, the

USPS could foresee that Smith would be compelled to quit her job in order

to preserve her health.” 376 F.3d at 537-38. Plaintiff’s decision was just as

reasonable. His requests for accommodation were denied and he needed to

leave for his physical and mental well-being. (Doc. 45-19, Page ID # 458).

      The district court held that because Plaintiff did not make a request for

a reasonable accommodation, the failure to accommodate cannot be

considered a contributing factor to the alleged constructive discharge. (RE

62 at Page ID # 764). However, as demonstrated above, Plaintiff’s request

for a change in supervision was reasonable. Jurors could conclude that

Plaintiff reasonably believed that the situation was intolerable, particularly

given Defendant’s refusal to consider alternatives that would not have

caused any undue hardship, but which would have allowed Plaintiff to return

to work.




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C.    The District Court Erred in Granting Summary
      Judgment on Plaintiff’s Retaliation Claim

      The district court agreed that Plaintiff engaged in protected conduct

by notifying Defendant about his disability and seeking an accommodation.

(RE 62 at Page ID # 7650. However, the court held that Plaintiff’s retaliation

claim failed because “no one at KMC took adverse employment action

against Tomlinson.” (RE 62 at Page ID # 765).

      The court’s conclusion that there was no adverse action is premised

on its findings that Plaintiff’s request for accommodation was unreasonable

and that he was not constructively discharged. However, as set forth above,

reasonable jurors could find that Plaintiff’s requested accommodation was

reasonable, that Defendant failed to accommodate him, and that the failure

to do so resulted in Plaintiff’s constructive discharge. Both the failure to

accommodate and constructive discharge are adverse actions. Accordingly,

the district court’s conclusion is in error and should be reversed.


                            III.   CONCLUSION

      Defendant’s motion for summary judgment should have been denied

with respect to Plaintiff’s failure to accommodate, constructive discharge,

and retaliation claims. There were factual disputes regarding the above claims

that should have been presented to a jury.


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      Plaintiff respectfully requests that the decision of the district court be

reversed and that this matter be remanded for trial.


                                               Respectfully submitted,

                                               s/ David Torchia
                                               David Torchia (0015962)
                                               Tobias, Torchia & Simon
                                               302 Mercantile Center
                                               120 E. Fourth Street
                                               Cincinnati, OH 45202
                                               (513) 241-8137
                                               davet@tklaw.com
                                               Attorney for Plaintiff-Appellant




                CERTIFICATE OF COMPLIANCE
      Pursuant to Rule 32(a)(7)(C), Counsel for Appellant certifies
that Appellant’s brief contains 9,336186 words between pages 1 and
42.

                                               s/ David Torchia
                                               David Torchia



                        CERTIFICATE OF SERVICE
       I certify that a copy of the foregoing document was filed
electronically on April 11, 2022 and will be served upon all counsel of
record via the court’s ECF system.


                                               s/ David Torchia
                                               David Torchia

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                             Case No. 21-6245


                UNITED STATES COURT OF APPEALS
                     FOR THE SIXTH CIRCUIT

                          CURT TOMLINSON
                           Plaintiff-Appellant

                                    vs.

                  KRAUSS-MAFFEI, CORPORATION
                        Defendant-Appellee



        APPELLANT’S DESIGNATION OF RECORD CONTENTS


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